Case 2:20-cv-00348-SVW-SK Document 427 Filed 10/27/21 Page 1 of 2 Page ID #:14372



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    9                            UNITED STATES DISTRICT COURT
   10                           CENTRAL DISTRICT OF CALIFORNIA
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   12   KRIS DOE and NATE DOE,                         Case No. 2:20-cv-00348-SVW-SK
   13                      Plaintiffs,                 Hon. Stephen V. Wilson
   14            v.
                                                       ORDER OF DISMISSAL
   15   BRIDGES TO RECOVERY, LLC, et
        al.,                                                Fed.Rule.Civ.Proc. 41(a)(2)
   16
                           Defendants.
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                 Having reviewed and approved the parties’ Stipulation of Dismissal, as a
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        condition of Plaintiffs and Defendants BRIDGES TO RECOVERY, LLC,
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        CONSTELLATION BEHAVIORAL HEALTH, LLC and MR. LES KATZ
   21
        (“Defendants”) confidential settlement agreement (“settlement agreement”)
   22
        referenced therein and as a pre- condition of the parties’ Stipulation of Dismissal,
   23
        the court is to retain jurisdiction over the settlement agreement and its enforcement.
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        The foregoing considered and finding good cause,
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                 IT IS HEREBY ORDERED that the aforementioned parties comply with
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        the terms of the parties’ settlement agreement. Pursuant to this settlement
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        agreement, the Stipulation of Dismissal, and pursuant to the court’s own inherent
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        4825-9309-7983.1
                                                                 ORDER OF DISMISSAL BTR & KATZ
                                                                          2:20-CV-00348-SVW--SK
Case 2:20-cv-00348-SVW-SK Document 427 Filed 10/27/21 Page 2 of 2 Page ID #:14373



    1   powers, Fed. R. Civ. P. 41(a)(2), the court hereby retains jurisdiction to enforce the
    2   parties’ settlement agreement. Any breach of the settlement agreement would be a
    3   violation of this court’s orders, and the court will continue to exercise and has
    4   ancillary jurisdiction to enforce the said settlement agreement.
    5            Having now reserved and retained jurisdiction over the settlement agreement
    6   and its enforcement, the court subsequently grants the Stipulation of Dismissal of
    7   the complaint against Defendants. This Action shall be, and hereby is, dismissed
    8   with prejudice in its entirety as to all claims as to Defendants BRIDGES TO
    9   RECOVERY, LLC, CONSTELLATION BEHAVIORAL HEALTH, LLC and MR.
   10   LES KATZ. Each party shall bear its own attorney’s fees, expenses and costs.
   11            IT IS SO ORDERED
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   13   Dated: October 27, 2021
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   15                                               STEPHEN V. WILSON
                                                    UNITED STATES DISTRICT JUDGE
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        4825-9309-7983.1
                                                                  ORDER OF DISMISSAL BTR & KATZ
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